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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:08-cr-00004-MP-AK

ANDRE DELANEY THOMPSON,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 164, a Writ of Habeas Corpus Ad Testificandum

issued by the Eighth Judicial Circuit Court in Levy County, Florida, seeking to have Mr.

Thompson testify in a state court trial on August 29, 2008. A telephonic hearing was held on

August 21, 2008. The government and the attorney for Mr. Thompson in this federal case do not

object. The United States Marshals Service is directed to temporarily release custody of Andre

Thompson to the Levy County Sheriff's Office for the purpose of giving testimony during the

trial referred to in the Writ at the Levy County Courthouse, Bronson, Florida, on August 29,

2008, at 10:00 a.m.

       After coordinating with the United States Marshals Service, the Levy County Sheriff's

Office will responsible for transporting Andre Thompson from the Alachua County Jail in

Gainesville, Florida, and then for returning Mr. Thompson to the Alachua County Jail the same

day. The Levy County Sheriff's Office will also be responsible for any cost incurred while

Thompson is in their custody.

       DONE AND ORDERED this 27th day of August, 2008

                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
